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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

  CHERI ANN WHITLOCK,                      §    No. 5:20–CV–1011–DAE
                                           §
        Appellant,                         §
                                           §
  vs.                                      §
                                           §
  JOHN PATRICK LOWE,                       §
                                           §
        Appellee.                          §
                                           §
                                           §

         ORDER GRANTING APPELLANT’S UNOPPOSED MOTION TO
                      VOLUNTARILY DISMISS

              Before the Court is Appellant’s Unopposed Motion to Voluntarily

  Dismiss this appeal under Federal Rule of Appellate Procedure 42(b). (Dkt. # 5.)

  The Motion states that Appellant has consulted with counsel for Appellee, “who

  represented that Appellee does not oppose the relief requested herein.” (Id.)

              Pursuant to Federal Rule of Appellate Procedure 42(b), the Court

  GRANTS Appellant’s Unopposed Motion for Voluntary Dismissal and

  DISMISSES this appeal. As such, the Court also DISMISSES Appellee’s

  pending Motion to Dismiss. (Dkt. # 2.) In light of the voluntary dismissal, the

  Clerk is INSTRUCTED TO CLOSE THIS CASE.
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              IT IS SO ORDERED.

              DATED: San Antonio, TX, September 23, 2020




                                             ______________________________________
                                             David Alan Ezra
                                             Senior United States District Judge
